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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO

GLOBAL BROTHER SRL, a                     )       Case No.:
Romanian Societate cu Raspundere          )
Limitata,                                 )       Judge
Ghiozdanului 22A Lighthouse               )
Residence                                 )
Bucharest, Romania                        )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )
                                          )
Munrow TATTON an individual and           )
d/b/a “Zolivi.com,”                       )
2245 Sunset Dr.,                          )
Wickliffe, OH 44092                       )
                                          )
       Defendant.                         )

                         GLOBAL BROTHER SRL COMPLAINT

      Global Brother SRL (“Plaintiff”), by and through its undersigned counsel,

files this Complaint against, Defendant(s), Munrow TATTON an individual and

d/b/a “Zolivi.com” (“Defendant”), and in support thereof states the following,

                            NATURE OF THE ACTION

      This is a civil action for claims arising under the Copyright Act of 1976, 17

U.S.C. §§ 101 et seq. and for associated intellectual property and business

violations under federal and Ohio law. This action is to address, inter alia, the

unauthorized reproduction, distribution, advertising, use, and display of

Plaintiff’s protected works on-line, and subject to the Digital Millenium

Copyright Act (DMCA).

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      1.      Plaintiff is a worldwide publisher of popular books directed to

survival skills, health and wellness, and related subjects of interest. It has

invested substantial resources in creating, distributing, advertising and

protecting its books, contents, and images thereof – as according to the

protections granted by U.S. copyright, trade dress, trademark, and related

intellectual property rights (the “Plaintiff’s Works”).

      2.      Defendant, without authorization or license, engaged in the

unauthorized reproduction, distribution, advertising, use, and display of

Plaintiff's Works, including at https://zolivi.com, to misrepresent source,

misrepresent rights, mislead and divert consumers in this District, causing

confusion, financial and reputational harm to Plaintiff and Plaintiff’s Works.

      3.      Through this action, Plaintiff seeks to protect its exclusive rights and

prevent harm to continue to be caused by Defendant. Plaintiff seeks injunctive

relief, statutory damages, actual damages, attorneys’ fees, and other relief as just

and proper.

                           JURISDICTION AND VENUE

      4.      This Court possesses subject matter jurisdiction over the action

under 28 U.S.C. § 1331, as the claims arise under the Constitution, laws, or

treaties of the United States, including but not limited to the Copyright Act (17

U.S.C. § 101 et seq.) and the Lanham Act (15 U.S.C. § 1051 et seq.).




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      5.     This Court further has exclusive jurisdiction over the claims arising

under federal copyright and trademark law under 28 U.S.C. § 1338(a), which

grants original jurisdiction to federal district courts for all civil actions arising

under any Act of Congress relating to copyrights, trademarks, or unfair

competition.

      6.     This Court also has jurisdiction under 15 U.S.C. § 1121, which

provides that the district and territorial courts of the United States shall have

original jurisdiction over all actions arising under the Lanham Act.

      7.     This Court additionally has supplemental jurisdiction over Plaintiff’s

state law claims under 28 U.S.C. § 1367(a), as the state law claims are so related

to the federal claims that they form part of the same case or controversy under

Article III of the United States Constitution.

      8.     Venue is proper in this District under 28 U.S.C. § 1391(b) as

Defendant’s direct unlawful activities toward this District, including conducting

business, advertising, selling, and/or distributing infringing products within this

District.

      9.     Defendant is subject to this Court’s jurisdiction because, pursuant to

the Digital Millennium Copyright Act (DMCA) Counter-Notice, and public

records, Defendant is located in this District, expressly consent to jurisdiction in

this District, and avail themselves to this court otherwise.




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                                   PARTIES

      10.    Plaintiff, Global Brother SRL, is a Romanian Societate cu

Raspundere Limitata (SRL) organized and existing under the laws of Romania,

with principal place of business located at Ghiozdanului 22A Lighthouse

Residence, Bucharest, Romania (the “Plaintiff”). The Plaintiff is engaged in the

business of creating, publishing, selling, distributing, and advertising books in

the United States and internationally. Plaintiff owns and holds all rights, title,

and interest in and to the intellectual property associated with its books,

including “THE AMISH WAYS” (see, e.g., Exhibit A , Plaintiff registered U.S.

Copyright abstracts and image of book, cover). Rights associated with the

foregoing include trade dress and U.S. common law trademark rights.

      11.    Defendant, Munrow TATTON, is an individual located in this

District, and conducts business at 2245 Sunset Dr., Wickliffe, Ohio 44092. He is

in the business of retailing various goods including books, which he causes to be

sold, advertised and delivered in U.S. commerce, including to residents of this

State. He controls and owns all or part of the website https://zolivi.com, which

website displayed content complained of herein (the “Offending Website”).

Defendant, Munrow TATTON as self and doing business as “Zolivi.com” filed the

DMCA Counter-Notice that caused the instant action to be filed. The Counter-

Notice asserted Munrow TATTON as the responsible party (Exhibit B, consisting

of the Offending Website and Counter-Notice and email).


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                                            FACTUAL BACKGROUND

      12.       Plaintiff is the exclusive owner of all rights, title, and interest in and

to book “THE AMISH WAYS” based on, but not limited to its registered

copyrights, common law trademark rights and distinctive trade dress:

      •         TRADEMARK: Plaintiff has acquired common law trademark rights

      in the title and cover for its book “THE AMISH WAYS” through continuous

      and extensive use in commerce, resulting in strong consumer recognition.

      It is e.g., currently the #1 best seller on Amazon in Homeopathy Medicine:

      https://www.amazon.com/Amish-Ways-Eddie-

      Swartzentruber/dp/B0DK237X8F:

          ~              The Amish Ways Paperback- October 8, 2024                                                                                        c!J
          THE            by Eddie Swartzentruber (Author)                                                                                                       [··•"'"''
                                                                                                                                                                 $38.00

                         4.7 **** * v (635)
                                                                                                                                                                Other New from $38.00 v
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                         If you wont to survive an economic collapse, a civil war, an emp strike and other major disasters, oil you need to do is learn          You Earn: 38 pt:s Learn more
                         from the only people who would hardly even notice them.
                                                                                                                                                                 $4.99 delivery July 14 - 18. Details
                         The Amish have been thriving for generations without electricity or running water...without supermarkets, without
                                                                                                                                                                 Or fastest delivery July 9 • 14. Details
                         pharmacies, and many other modern necessities that would simply vanish in a collapse.
                                                                                                                                                                 @) Deliver to Wilmington 28409
                         Inside The Amish Ways you'll uncover the survival skills and projects of independence that allowed them to do so.
                                                                                                                                                                 In Stock
                         These life-saving Amish secrets have never been shared before wit h the outside world.
                                                                                                                                                                   Quantity: 1
                         And they are so powerful that they' ll make anyone self-sufficient on their own property, come hell or high water!
                                                                                                                                                                                  Add to Cart
                         v Read more

                                                                                                                                                                                   Buy Now
                         ~ Report an issue with this product or seller




      •         TRADE DRESS: Plaintiff’s trade dress includes the distinctive design

      comprising its title, layout, font style, color scheme, and associated

      imagery. Its trade dress is inherently distinctive and has acquired

      secondary meaning in the marketplace, signifying to consumers that the

      origin is from Plaintiff.



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      •      COPYRIGHT: Plaintiff owns non-U.S. and U.S. Copyright

      Registrations for “THE AMISH WAYS” inter alia, the book, text, artwork,

      videos and website as in TXu002445650, TXu002446440, TXu002465741,

      TXu002443674, PA0002505508, TXu002445660, VAu001539184,

      TXu002443678, PAu004246626 and TXu002459756 (Exhibit A, image of

      cover and U.S. Copyright Office and United States Patent and Trademark

      Office record abstract, printouts).

      13.    The book comprises: title "THE AMISH WAYS." The title appears

prominently in bold, rustic serif font at the top. A small horse-drawn buggy icon

sits above the title. The background features a golden-hued landscape under a

soft, warm sky, suggesting either sunrise or sunset. In the foreground is a detailed

farm scene with multiple people tending to a lush vegetable garden. The figures

are dressed in traditional Amish clothing—bonnets, long dresses, and

suspenders. Fenced plots of land are full of orderly rows of crops. Further back,

there are two main buildings: a large, classic white Amish farmhouse with a

pitched roof and a wraparound porch and smaller wooden structure, representing

a barn or tool shed. Rolling fields and additional houses dot the background,

illustrating community life. The scene is bathed in a golden light, lending it an

idyllic, almost painterly quality (see e.g., Exhibit A, cover, image following

below).




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      14.    Plaintiff’s book has been extensively marketed, distributed, and sold

in the United States since at least as early as mid-to-late 2024, generating

substantial consumer recognition and goodwill. As a result of this continuous use

and promotion, Plaintiff has established enforceable rights in the content, title,

design, and associated trade dress.




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      15.    On or about June 13, 2025, Plaintiff discovered unauthorized

version(s) of its book published, advertised for sale, and being sold for profit on

the Offending Website https://zolivi.com (the “Offending Use”). The following is

a representative image of the Offending Use:

   ZolM                          HOME   PRODUC l S   CONT .ACT US




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                                                 ** ** *           •A IED 4 ,16/5 BASED ON + 1475 REVIS WS



                     THE                       The Amish ways - Survival Secrets
                                               (50% OFF)
                                               ~            S4.90USO

                                               Tlted of ,.,ytng on systems that may fail you In o crl1is? Thousands of
                                               people a,e worried obout economic collapse, civil unrest and noturol
                                               disasters. The Amish Ways - Survivor Secrets is the breakthrough solution
                                               you've been waiting for . No comple:i,: theories, no gimmicks - just proven
                                               Amish sun/tval techniques that con help you become selt· sufficient. live
                                               independently. and prepare for anything life throws your way.

                                               0 Survive and Thrive in Any Crisis
                                               0 Build o Self Sutnc,ent Lifestyle
                                               0 Prolect Your Assets and Loved Ones
                                               0 Moster Timeless Amish Skills for Any SituotiOf'I


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      16.    The Offending Use includes what appears as an exact copy of

Plaintiff’s book, its copyrights, trademark and distinctive tradedress, creating a

false impression of affiliation, origin and connection with the Plaintiff and its

goodwill. The Offending Use has some differences from Plaintiff’s book, namely

that it adds additional matter in the offer, “- Survival Secrets.” The difference is

significant in revealing an intention to avoid detection of unauthorized use, but

otherwise insignificant as to the overall impression and purpose. The Offending




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Use being a violation of SHOPIFY user terms, violation of federal and state

intellectual property and related laws.

      17.    To safeguard its intellectual property rights, mitigate damages and

consumer confusion, on or about June 13, 2025, Plaintiff filed a Digital

Millennium Copyright Act (DMCA) Takedown notice with SHOPIFY. Following

Plaintiffs complaint, the Offending Use was suspended.

      18.    On or about June 16, 2025, having waited no time to investigate the

claim, the Defendant filed a Counter-Notice, claiming the Takedown was made in

error and asserting a “good faith belief” that the Offending Use was lawful. Under

SHOPIFY’s policy subject to the DMCA, the Offending Use may be reinstated

within 14 business days from filing the Counter-Notice, unless Plaintiff files a

federal lawsuit (Exhibit B, Counter-Notice, SHOPIFY email).

      19.    Between the period of June 16, 2025 – July 1, 2025, Plaintiff sent

correspondence via e-mail to Defendant confirming Plaintiff’s ownership rights

and requested information to seek resolution and avoid litigation. The

correspondence was directed at the e-mail address provided in the Counter-Notice

and Defendant failed or refused to respond to the Plaintiff’s inquiries, which

remain ignored at the present requiring this proceeding to avoid the Offending

Use from being reinstated.

      20.    Plaintiff hereby seeks assistance to enforce its statutory rights,

prevent ongoing and future harm, and receive associated damages. Defendant’s


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wrongful acts, including mocked-up book, associated infringement and

advertising, have caused irreparable harm to Plaintiff, its goodwill, and financial

interests. Plaintiff has suffered and will continue to suffer damages unless

Defendant is enjoined.

                               CLAIMS FOR RELIEF

                                   COUNT I
                          COPYRIGHT INFRINGEMENT
                              [17 US CODE § 501]


      21.    Plaintiff realleges and incorporates by reference allegations of ¶¶ 1-

20 as though fully set forth herein.

      22.    Plaintiff is the lawful owner of valid and enforceable U.S. Copyright

Registrations for the book, “THE AMISH WAYS,” including its contents and

cover artwork, which confer exclusive rights under 17 U.S.C. § 106, including the

rights to reproduce, distribute, display, and create derivative works based on the

copyrighted material.

      23.    Defendant, without authorization or consent, willfully and

unlawfully reproduced, distributed, and displayed counterfeits and/or

unauthorized copies of Plaintiff’s copyrighted materials in violation of 17 U.S.C. §

501 continuously from the time beginning from at least as early as before

February 2025, to present. Acts of infringement occurred after the Plaintiff

received its copyright registration(s).




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       24.    Defendant’s actions constitute willful infringement as defined under

the Copyright Act, entitling Plaintiff to enhanced statutory damages under 17

U.S.C. § 504(c). Under 17 U.S.C. § 505, Plaintiff seeks recovery of its attorneys’

fees, costs, and expenses incurred in this action because of Defendant’s infringing

activities.

       25.    As a direct and proximate result of the Defendant’s infringing acts,

the Plaintiff suffered and will continue to suffer irreparable harm and economic

damages for which there is no adequate remedy at law. Unless enjoined and

restrained by this Court, the foregoing infringing acts will continue to cause

irreparable injury to Plaintiff.

       26.    Pursuant to 17 U.S.C. §§502 and 503, Plaintiff is entitled to

injunctive relief prohibiting further importing, advertising, using, making, or

infringing the protections under Global Brother U.S. Copyright Registrations,

and ordering all unauthorized copies that shall exist, to be destroyed or forfeited.



                              COUNT II
        UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN
                         [15 U.S.C. § 1125(a)]

       27.    Plaintiff realleges and incorporates by reference allegations of ¶¶ 1-

20 as though fully set forth herein.

       28.    Plaintiff owns enforceable common law trademarks and trade dress

rights in and to the non-functional, unique designs of its books, covers and titles


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(the trade dress and title marks collectively referred to as “Plaintiff’s

Trademarks”).

      29.    The Plaintiff’s Trademarks have been in continuous use in U.S.

interstate commerce by Plaintiff prior to any date which can be legally claimed by

the Defendant.

      30.    Plaintiff’s Trademarks are inherently distinctive and/or have

acquired distinctiveness and secondary meaning based on substantial promotion,

sales, marketing, and use in U.S. commerce. Consumers associate the unique

titles, unique pattern-design of the books as originating exclusively from Plaintiff.

      31.    Defendant’s unauthorized use of Plaintiff’s trade dress, titles, and

overall designs constitutes false misleading representations of fact that is likely to

cause confusion or mistake, or to deceive the public as to the origin, sponsorship,

or approval, false description, and unfair competition in violation of Section

43(a) of the Lanham Act (15 U.S.C. § 1125(a)).

      32.    As a direct and proximate result of the foregoing acts, Plaintiff has

suffered injury, including irreparable injury, and damages, including lost profits,

royalties, and other damages in an amount to be determined at trial, and

continues to suffer irreparable harm, loss of goodwill, and monetary damages as

a direct result of Defendant’s unfair competition.

      33.    Plaintiff seeks damages, including Defendant’s profits, actual

damages, and costs, pursuant to 15 U.S.C. § 1117(a), as well as injunctive relief to


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prevent further acts of unfair competition. And because Defendant’s acts were

willful, this is an exceptional case making the Plaintiff eligible for an award of

attorneys’ fees under 15 U.S.C. § 1117.

                              COUNT III
                 MISREPRESENTATION, COUNTER-NOTICE
                          [17 U.S.C. § 512(F)]

      34.    Plaintiff realleges and incorporates by reference allegations of ¶¶ 1-

20 as though fully set forth herein.

      35.    Defendant knowingly and materially misrepresented their rights to

distribute and display the books in the Counter-Notice.

      36.    Defendant’s assertions in the Counter-Notice constitute a violation

of 17 U.S.C. § 512(f), as they acted with actual knowledge of the falsity of their

claims or reckless disregard for the truth.

      37.    As a result of Defendant’s misrepresentations, Plaintiff suffered and

will continue to suffer damage, including but not limited to costs and attorneys’

fees incurred in addressing Defendant’s unlawful conduct including but not

limited to having to file this complaint.

                              COUNT IV
         VIOLATION OF OHIO CONSUMER SALES PRACTICES ACT
                       (O.R.C. § 1345.01 et seq.)

      38.    Plaintiff realleges and incorporates by reference allegations of ¶¶ 1-

20 as though fully set forth herein.




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      39.    The Ohio Consumer Sales Practices Act (CSPA), O.R.C. § 1345.01 et

seq., prohibits unfair, deceptive, and unconscionable acts or practices in

connection with a consumer transaction. This statute is designed to protect

consumers from suppliers who engage in such unlawful conduct. The statute

aims to protect consumers and legitimate business entities from harm caused by

such unlawful practices.

      40.    Defendant engaged in conduct that violates the CSPA by advertising,

offering for sale, and attempting to distribute a counterfeit version of Plaintiff’s

book, “THE AMISH WAYS.” This conduct is unfair and deceptive for the

following reasons:

     a.      Deceptive Representation of the Book’s Origin: Defendant

     deliberately replicated the title, trade dress, and cover design of Plaintiff’s

     books, misleading consumers into believing the infringing book is either

     affiliated with, authorized by, or a genuine product of Plaintiff.

     b.      False and Misleading Advertising: Defendant used deceptive

     advertisements on Shopify that prominently displayed a counterfeit version

     of Plaintiff’s books, creating confusion among consumers about the source

     and quality of the product.

     c.      Use of a Knockoff Product to Mislead Consumers: Defendant

     mimicked Plaintiff’s distinctive trade dress and design to unlawfully




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     capitalize on the goodwill, reputation, and established consumer trust

     associated with Plaintiff’s book.

     d.      This tactic was designed to confuse consumers while evading

     detection by Plaintiff and online platforms such as Shopify.

     e.      Harm to Consumers: Consumers who purchased the infringing

     books received a counterfeit product that was not authorized or endorsed by

     Plaintiff. This deception caused consumers to suffer financial loss and

     diminished trust in Plaintiff’s brand.

     41.     To preserve the integrity of evidence, Plaintiff seeks an injunction to

preserve all potentially relevant electronic evidence, including, but not limited to:

a) Data from Shopify accounts, including sales records, customer

communications, and financial transactions related to the infringing book; b) All

financial records connected to the infringing book, including revenue, expenses,

and profit calculations; c) Design files, production records, and any related

communications concerning the development or manufacture of the infringing

book; d) Customer communications and data, including complaints, inquiries, or

feedback regarding the infringing book; e) Records of supplier and distributor

relationships, including financial data and agreements.

    42.      As a direct and proximate result of Defendant’s deceptive acts and

practices, Plaintiff has suffered significant harm, including but not limited to loss

of sales and market share due to diverted business, damage to reputation and


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goodwill, and consumer confusion that undermines trust in Plaintiff’s authentic

product.

     43.     Under O.R.C. § 1345.09, Plaintiff is entitled to recover actual

damages incurred as a result of Defendant’s violations of the CSPA, including

compensation for lost revenue, reputational harm, and other economic injuries.

     44.     Plaintiff further seeks equitable relief under the CSPA, including

injunctive relief to prevent Defendant from engaging in further deceptive and

unfair practices. Such relief is necessary to safeguard Plaintiff’s business interests

and to protect consumers from ongoing harm.

     45.     Pursuant to O.R.C. § 1345.09(F), Plaintiff also seeks recovery of its

attorneys’ fees and costs incurred in prosecuting this action, as Defendant’s

conduct constitutes a knowing violation of clearly established consumer

protection law under the CSPA.

                                 COUNT V
                       UNJUST ENRICHMENT (OHIO LAW)

     46.     Plaintiff realleges and incorporates by reference allegations of ¶¶ 1-

20 as though fully set forth herein.

     47.     Defendant has unlawfully benefitted from the unauthorized use of

Plaintiff’s intellectual property, deriving substantial revenue and goodwill at

Plaintiff’s expense.




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       48. Defendant used Plaintiff’s distinctive book title(s), trade dress, and

associated goodwill to market and sell unauthorized, counterfeit copies, and/or

knockoffs of Plaintiff’s “THE AMISH WAYS.”

       49.    Defendant willfully, knowingly, and with wanton disregard

replicated Plaintiff’s unique books design. And although there were some changes

to the advertisement, they were minor and still included the layout, patterns, and

color scheme of Plaintiff, to deceive consumers into purchasing the Defendant’s

book instead, under the impression that it a genuine “THE AMISH WAYS” book.

       50.    By capitalizing on Plaintiff’s intellectual property and goodwill,

Defendant unjustly obtained significant financial benefits, including but not

limited to: Revenue generated from the sale of counterfeit books; Cost savings by

avoiding investment in original design, marketing, and branding efforts; and

Consumer trust and market recognition built upon Plaintiff’s established

reputation.

       51.    Plaintiff never authorized Defendant to use its intellectual property

or to benefit from its reputation and goodwill. Defendant’s unauthorized use

constitutes unlawful conduct that has harmed Plaintiff financially and

reputationally.

       52.    Defendant knew or should have known that its actions were

unauthorized, unlawful, and performed directly at Plaintiff’s expense. Defendant




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acted willfully and deliberately to exploit Plaintiff’s intellectual property for

financial gain, with full knowledge that it had no right to do so.

       53.   As a direct and proximate result of Defendant’s conduct, Plaintiff has

suffered significant harm, including Loss of revenue and market share due to

diverted sales; Reputational harm caused by consumer confusion and association

with counterfeit goods; and Diminished goodwill in the marketplace. Equity and

good conscience require that Defendant disgorge all profits and other financial

benefits unjustly obtained through their wrongful conduct.

       54.   Plaintiff is entitled to restitution of all ill-gotten gains and any other

equitable relief deemed just by this Court. Equity demands Defendant should not

be permitted to retain the benefits unjustly obtained through their wrongful

conduct. Plaintiff is entitled to restitution of all ill-gotten gains and profits, as

well as any other equitable relief this Court deems just and proper to prevent

Defendant from further unjust enrichment at Plaintiff’s expense.

                           COUNT VI
       TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIPS
                          (OHIO LAW)

       55.   Plaintiff realleges and incorporates by reference allegations of ¶¶ 1-

20 as though fully set forth herein.

       56.   Plaintiff has established and ongoing business relationships with its

customers, distributors, and online retailers, where Plaintiff’s book(s) “THE




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AMISH WAYS” are sold. These relationships are built on trust, reputation, and

consistent delivery of authentic, high-quality products.

       57.   Defendant, with knowledge of these relationships, intentionally and

unjustifiably interfered with introducing counterfeit goods into the market,

diverting sales and eroding consumer trust in Plaintiff’s authentic product.

       58.   Defendant was aware, or should have been aware, of Plaintiff’s

business relationships and the goodwill associated with its intellectual property.

This knowledge is evidenced by Defendant’s deliberate replication of Plaintiff’s

title, trade dress, and book design, with intentional changes to avoid detection

and target, and exploit Plaintiff’s customer base and online retail channels.

       59.   Defendant intentionally and unjustifiably interfered with Plaintiff’s

business relationships by engaging in the following actions: Advertising and

selling counterfeit versions of Plaintiff’s books, thereby diverting sales from

Plaintiff’s legitimate product; Creating consumer confusion by mimicking

Plaintiff’s trade dress and title, leading customers to believe they were purchasing

Plaintiff’s authentic product; Filing a Counter-Notice with SHOPIFY to reinstate

their infringing listing, undermining Plaintiff’s ability to protect its intellectual

property rights and maintain its business relationships.

       60. Defendant’s conduct was not privileged, justified, or excused. The

actions were willful and malicious, intended to profit at Plaintiff’s expense by

exploiting Plaintiff’s established reputation and business relationships.


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       61.    As a direct and proximate result of Defendant’s tortious interference,

Plaintiff has suffered significant harm, including but not limited to: Loss of sales

and revenue due to diverted business opportunities; Damage to its reputation

and goodwill, as consumers mistakenly associate the counterfeit goods with

Plaintiff’s brand; Impairment of its business relationships with customers and

online platforms such as SHOPIFY, which rely on Plaintiff’s ability to deliver

authentic and trusted products.

       62.    Plaintiff seeks actual and compensatory damages for the financial

and reputational harm caused by Defendant’s interference. Plaintiff further seeks

punitive damages to deter Defendant and others from engaging in similar

wrongful conduct, as well as any other equitable relief this Court deems just and

proper.

                                COUNT VII
           VIOLATION OF OHIO DECEPTIVE TRADE PRACTICES ACT
                          (R.C. § 4165.01 et seq.)

          63. Plaintiff realleges and incorporates by reference the allegations of ¶¶

1–20 as though fully set forth herein.

          64. This claim arises under the Ohio Deceptive Trade Practices Act, R.C.

§ 4165.01 et seq. The ODTPA prohibits, inter alia, conduct likely to cause

confusion or misunderstanding as to the source, sponsorship, approval, or

certification of goods, and conduct that causes likelihood of confusion as to

affiliation, connection, or association with another.


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        65. Defendant has used and continues to use deceptive, misleading, and

confusing representations by advertising, marketing, and selling counterfeit

versions of Plaintiff’s book “THE AMISH WAYS,” which incorporate Plaintiff’s

distinctive trade dress, title, and designs.

        66. Such conduct is likely to cause consumer confusion as to the source,

origin, sponsorship, or approval of the infringing book. Defendant’s unauthorized

use falsely suggests affiliation with Plaintiff and misleads the public into believing

that the counterfeit product is an authentic publication of Plaintiff.

        67. Defendant’s actions constitute deceptive trade practices under R.C. §

4165.02, including but not limited to:

              a. Passing off goods as those of another (R.C. § 4165.02(A)(1));

              b. Causing likelihood of confusion or misunderstanding as to the

              source, sponsorship, approval, or certification of goods (R.C. §

              4165.02(A)(2));

              c. Causing likelihood of confusion or misunderstanding as to

              affiliation, connection, or association with another (R.C. §

              4165.02(A)(3)); and

              d. Representing that goods have sponsorship, approval,

              characteristics, uses, or benefits that they do not have (R.C. §

              4165.02(A)(7)).




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          68. Defendant committed the above-referenced acts with actual

knowledge of Plaintiff’s ownership of the intellectual property and goodwill

associated with the book “THE AMISH WAYS,” and willfully engaged in deceptive

practices to exploit Plaintiff’s reputation.

          69. As a result of Defendant’s deceptive trade practices, Plaintiff has

suffered damages, including lost sales, injury to its reputation and goodwill, and

expenses associated with enforcing its rights.

          70. Plaintiff seeks injunctive relief under R.C. § 4165.03 to restrain

Defendant from continuing such deceptive trade practices and seeks all other

relief available under the statute, including but not limited to costs and attorneys’

fees as permitted.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests judgment in its favor and

against Defendant(s) as follows:

      ·       Preliminary and permanent injunctive relief prohibiting Defendant

from further infringing, unfair competition, and deceptive practices;

      ·       Statutory damages under the Lanham Act and Copyright Act.

      ·       Actual damages, including lost profits and compensation for

reputational harm.

      ·       Treble damages for willful violations of the Lanham Act under 15

U.S.C. § 1117.


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        ·     Disgorgement of Defendant’s profits from infringing activities.

        ·     Attorneys’ fees, costs, and expenses under 15 U.S.C. § 1117 and Ohio

law.

        ·     An order requiring destruction or forfeiture of all infringing

materials in Defendant’s possession.

        ·     Restitution for unjust enrichment under Ohio law.

        ·     Any additional relief the Court deems just and equitable.



Dated: July 7, 2025

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